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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

                                                  )
In re                                             )     Chapter 11
                                                  )
TOUGH MUDDER INCORPORATED; and                    )     Case No. 20-10036 (CSS)
TOUGH MUDDER EVENT PRODUCTION                     )     Case No. 20-10037 (CSS)
INCORPORATED,                                     )
                                                  )     [Requested] Objection Deadline:
                                                  )     February 20, 2020, at 4:00 p.m. (ET)
                      Debtors.                    )
                                                  )     [Requested] Hearing Date: February
                                                  )     25, 2020, at 1:00 p.m. (ET)
                                                  )

           NOTICE OF HEARING REGARDING CHAPTER 11 TRUSTEE’S
           MOTION FOR ENTRY OF AN ORDER (I) APPROVING ENTRY
  INTO AND PERFORMANCE UNDER ASSET PURCHASE AGREEMENT BY AND
      AMONG SPARTAN RACE, INC., AND DEBTORS’ CHAPTER 11 TRUSTEE,
   (II) AUTHORIZING THE SALE OF SUBSTANTIALLY ALL OF THE DEBTORS’
               ASSETS FREE AND CLEAR OF ALL LIENS, CLAIMS,
            ENCUMBRANCES, AND INTERESTS, (III) APPROVING THE
           ASSUMPTION AND ASSIGNMENT OF CERTAIN CONTRACTS
             AND RELATED PROCEDURES, (IV) APPROVING THE BID
              PROTECTIONS, AND (V) GRANTING RELATED RELIEF

                PLEASE TAKE NOTICE that on February 7, 2020, Derek C. Abbott, Esq., the
chapter 11 trustee (the “Trustee”) for Tough Mudder Inc. and Tough Mudder Event Production
Inc. (collectively, the “Debtors”) in the above-captioned chapter 11 cases filed the Chapter 11
Trustee’s Motion for Entry of an Order (I) Approving Entry Into and Performance Under
Asset Purchase Agreement by and Among Spartan Race, Inc., and Debtors’ Chapter 11
Trustee, (II) Authorizing the Sale of Substantially All of the Debtors’ Assets Free and Clear
of All Liens, Claims, Encumbrances, and Interests, (III) Approving the Assumption and
Assignment of Certain Contracts and Related Procedures, (IV) Approving the Bid
Protections, and (V) Granting Related Relief (the “Motion”).

               PLEASE TAKE FURTHER NOTICE that any party wishing to oppose the entry
of an order approving the Motion must file a response or objection (an “Objection”) if any, to the
Motion with the Clerk of the United States Bankruptcy Court for the District of Delaware, 824
North Market Street, 3rd Floor, Wilmington, Delaware 19801 on or before the requested
deadline of February 20, 2020 at 4:00 p.m. (Eastern Standard Time) (the “Objection
Deadline”). At the same time, you must serve such Objection upon the following parties (the
“Notice Parties”) so as to be received on or before the Objection Deadline: (i) proposed counsel
to the Trustee, Morris, Nichols, Arsht & Tunnell LLP, 1201 N. Market Street, Wilmington, DE
19801, Attn: Curtis S. Miller (cmiller@mnat.com), Matthew B. Harvey (mharvey@mnat.com),
Joseph     C.    Barsalona     II   (jbarsalona@mnat.com),      and     Brett    S.    Turlington
(bturlington@mnat.com); (ii) counsel to Spartan Race, Inc., or its designee: (a) Mintz, Levin,
Cohn, Ferris, Glovsky and Popeo, P.C., One Financial Center, Boston, MA 02111, Attn:
Adrienne K. Walker (awalker@mintz.com), and (b) Loizides, P.A., 1255 King Street, Suite 800,
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Wilmington, DE 19801, Attn: Christopher S. Loizides, (loizides@loizies.com); and (iii) the
Office of the United States Trustee, J. Caleb Boggs Federal Building, 844 King Street, Suite
2207, Lockbox 35, Wilmington, DE 19801, Attn: Jane Leamy, Esq. (jane.m.leamy@usdoj.gov).

               PLEASE TAKE FURTHER NOTICE THAT only Objections made in writing
and timely filed and received, in accordance with the procedures above, will be considered by
the Bankruptcy Court at such hearing.

          PLEASE TAKE FURTHER NOTICE THAT A HEARING ON THE MOTION
HAS BEEN REQUESTED FOR FEBRUARY 25, 2020, AT 1:00 P.M. (EASTERN
STANDARD TIME) BEFORE THE HONORABLE CHRISTOPHER S. SONTCHI, AT THE
UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824
MARKET STREET, 5TH FLOOR, COURTROOM #6, WILMINGTON, DELAWARE 19801.

           IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE
COURT MAY GRANT THE RELIEF REQUESTED IN THE MOTION, INCLUDING THE
SALE OF SUBSTANTIALLY ALL OF THE DEBTORS’ ASSETS FREE AND CLEAR OF
ALL LIENS, CLAIMS, ENCUMBRANCES, AND INTERESTS, WITHOUT FURTHER
NOTICE OR HEARING.

 Dated: February 7, 2020                     MORRIS, NICHOLS, ARSHT & TUNNELL LLP
 Wilmington, Delaware
                                             /s/ Matthew B. Harvey
                                             Curtis S. Miller (No. 4583)
                                             Matthew B. Harvey (No. 5186)
                                             Joseph C. Barsalona II (No. 6102)
                                             Matthew O. Talmo (No. 6333)
                                             Brett S. Turlington (No. 6705)
                                             MORRIS, NICHOLS, ARSHT & TUNNELL LLP
                                             1201 N. Market Street, 16th Floor
                                             P.O. Box 1347
                                             Wilmington, Delaware 19899-1347
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                                             Email: cmiller@mnat.com
                                                    mharvey@mnat.com
                                                    jbarsalona@mnat.com
                                                    mtalmo@mnat.com
                                                    bturlington@mnat.com

                                          Proposed Counsel for Derek C. Abbott, Esq., as
                                          Chapter 11 Trustee to Tough Mudder Inc. and Tough
                                          Mudder Event Production Incorporated




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